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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION
                                                 §
 JAWBONE INNOVATIONS, LLC,                       §    Case No. 2:23-cv-00079
                                                 §
                             Plaintiff,          §    JURY TRIAL DEMANDED
                                                 §
            v.                                   §
                                                 §
 GUANGDONG OPPO MOBILE                           §
 TELECOMMUNICATIONS CORP., LTD.,                 §
 D/B/A OPPO,                                     §
                                                 §
                             Defendant.          §
                                                 §

                         NOTICE OF ATTORNEY APPEARANCE

       Notice is hereby given that the undersigned attorney, Peter Lambrianakos, enters his

appearance in this matter for Plaintiff Jawbone Innovations, LLC for purposes of receiving notices

and orders from the Court.

Dated: February 28, 2023                     Respectfully submitted,

                                             /s/ Peter Lambrianakos
                                             Peter Lambrianakos
                                             NY Bar No. 2894392
                                             Email: plambrianakos@fabricantllp.com
                                             FABRICANT LLP
                                             411 Theodore Fremd Avenue,
                                             Suite 206 South
                                             Rye, New York 10580
                                             Telephone: (212) 257-5797
                                             Facsimile: (212) 257-5796

                                             ATTORNEY FOR PLAINTIFF
                                             JAWBONE INNOVATIONS, LLC
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 28, 2023, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                            /s/ Peter Lambrianakos
                                                Peter Lambrianakos
